Case 1:23-cv-00779-LMB-LRV Document 26-1 Filed 09/29/23 Page 1 of 5 PageID# 301




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

 HANAN ELATR KHASHOGGI,                  Case No. 1:23-cv-779-LMB-LRVVAED

             Plaintiff,                  Action Filed: June 15, 2023

       v.

 NSO GROUP TECHNOLOGIES LTD.
 and Q CYBER TECHNOLOGIES LTD.,

             Defendants.


   DECLARATION OF YARON SHOHAT IN SUPPORT OF DEFENDANTS’ MOTION
                           TO DISMISS
Case 1:23-cv-00779-LMB-LRV Document 26-1 Filed 09/29/23 Page 2 of 5 PageID# 302
Case 1:23-cv-00779-LMB-LRV Document 26-1 Filed 09/29/23 Page 3 of 5 PageID# 303
Case 1:23-cv-00779-LMB-LRV Document 26-1 Filed 09/29/23 Page 4 of 5 PageID# 304
Case 1:23-cv-00779-LMB-LRV Document 26-1 Filed 09/29/23 Page 5 of 5 PageID# 305
